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                                                                                                             RECEIVE
     Robbie Powelson                                                                                          APR 2 8 202
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2    415-847-7500
     1001 Bridgeway, #611
                                                                                                                  of Saus \ito
3    Sausalito CA 94965

4                                                 UNITE!; STATES COURT
                                                                                      APR 28 2022
5                                         DISTRICT OF NORTHERN CAL                 · fAU.S. DISTRICT COURT
                                                                                   H DISTRICT OF CALIFORNI
                                                                                                           A
6
     RYAN TUTTLE,                                                  Case No.:   3:22-cv-02441-EMC( RMI)
7
                          Plaintiff,
8
     vs.
                                                                   APPLICATION OF AMICI CURIAE IN SUPPORT
9                                                                  OF RY AN TUTTLES MOTION FOR
     CHRJSTOPHERZAPATA ET AL
                                                                   TEMPORARY RESTRAINING ORDER
IO
                          Defendant
                                                                   !FILED CONCURRENTLY WITH PROPOSED
11                                                                 AMICUS BRIEF)
12
              I Robbie Powelson, am submitting the following motion for permission to submit an amicus brief.
13
              Ryan Tuttle does not have regular access to electricity, and the last time I spoke to him his phone was not
14
     working, which is making it challenging him to stay in contact with the court. This is a direct result of Defendants
15
     actions of denying him the ability to encamp at Camp Cormorant at Marinship Park.
16
              The need for electricity is one of the reasons Mr. Tuttle is seeking a tent at the tennis courts, because
17
     having some stability would allow him to keep his phone charged and seek and maintain gainful employment and to
18
     access the judicial system to protect himself from Sausalito Police.
19
              I am responding to Stacie Gregories declaration. Gregorie's declaration is impertinent because it is her
20
     unofficial policy to ignore unhoused people seeking tents. Therefore her declaration of never speaking with Mr.
21
     Tuttle like has more to do with her own prejudicial practices against unhoused people than by a failure by Mr. Tuttle
22
     to request a tent.
23
              Because Mr. Tuttle is having technical issues with access to electricity and a working phone, and the
24
     harassment he is facing is directly linked to his telephonic is issue. His case is directly relevant to the lawsuits I am
25
     party to in        o/Marin Co nty Homeless U i n v City of S /i and Powelson vs City of Sausalito.
                  Sausalit
26                                                                  'Jj

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     Therefore, I submit the following proposed Am1c1 Bnef.    ?a;
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                                                                                tJ'l!vfjj-kt
28   APPLICATION OF AMICI CURIAE IN SUPPORT OF RYAN TUTTLES MOTION FOR TEMPORARY
     RESTRAINING ORDER[FILED CONCURRENTLY WITH PROPOSED AMICUS BRIEF] - I
